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                    UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                     MAY 31 2024
                                                                    MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




 FRIENDS OF THE CRAZY                           No. 22-35555
 MOUNTAINS, a public land
 organization; et al.,
                                                D.C. No. 1:19-cv-00066-SPW
               Plaintiffs - Appellants,         U.S. District Court for Montana,
                                                Billings
   v.
                                                MANDATE
 MARY ERICKSON, in her official
 capacity as Forest Supervisor for the
 Custer Gallatin National Forest; et al.,

               Defendants - Appellees.


        The judgment of this Court, entered April 08, 2024, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT
